AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C.                    § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                                     UNITED STATES DISTRICT COURT
                                                                                              for the
                                                                                 Eastern District ofNorth Carolina

                    United States of America
                                              v.
                  Antonio Rapheal Roundtree
                                                                                                   Case No:       5:03-CR-330-lBO
                                                                                                    USM No: 23922-056
                                                                                                            ~~~~-------------------------
Date of Original Judgment:          October 6, 2004
Date of Previous Amended Judgment: - - - - - - - -                                                 Kat Shea
 (Use Date of Last Amended Judgment if Any)                                                         Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of                   0
                              the defendant                                       D
                                                 the Director of the Bureau of Prisons       the court under 18 U.S.C.           D
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §lBI.lO
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           [ZIDENlED. 0GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected
in the last judgment issued) of               months is reduced to

• The amount of cocaine base involved is 25.2 kilograms or greater.



If the amount of time the defendant has already served exceeds this sentence, the sentence is reduced to a "Time Served"
sentence, subject to an additional period ofup to ten (10) days for administrative purposes of releasing the defendant.

                                                                 (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment(s) dated    October 6, 2004
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shall remain in effect. IT IS SO ORDERED.

Order Date:         /     J-           /J -. J.J,..
Effective Date:                                                                                         Terrence W. Boyle, U.S. District Judge
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